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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT FLORIDA
TAMPA DIVISION
JESSE A. SHERROD, ITI
and DEBORAH J. SHERROD,
Plaintiffs
YS. CASE NO.:

 

SUNTRUST MORTGAGE, INC.,

Defendant.
{

 

NOTICE OF REMOVAL

Defendant SunTrust Mortgage, Inc. (hereinafter “SunTrust’”) gives notice pursuant to 28
ULS.C. $§ 1441 and 1446 that this action is hereby removed from the State Court of Pasco
County, State of Florida, to the United States District Court for the Middle District of Florida,
Tampa Division. As grounds for this removal, SunTrust represents:

1. On or about April 17, 2018, Plaintiff commenced an action against SunTrust in
the Circuit Court of the Sixth Judicial Court in and for Pasco County, State of Florida, styled
“Jesse A. Sherrod, Ill and Deborah J. Sherrod v. SunTrust Mortgage, Inc.” pending as case no,
2018-CA-001117 CAAXWS (the “State Court Action”). The Complaint and Summons in the
State Court Action (as well as the docket) are attached to this Notice of Removal as “Exhibit A.”

2. On April 26, 2018, SunTrust was served with a copy of the Complaint and
Summons in the State Court Action. See Exhibit A.

3. Prior to filing this Notice of Removal, SunTrust made no answer or pleading in
the State Court Action. This Notice of Removal is filed in the United States District Court for

the Middle District of Florida, Tampa Division, within thirty days of SunTrust’s receipt through
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service of a copy of the initial pleading setting forth the claim for relief upon which the State
Court Action is based. This Notice of Removal is therefore timely filed under 28 U.S.C. §
1446(b){1). The Circuit Court of Pinellas County, Florida, is within this Court’s district and
division; therefore, the State Court Action is properly removable to this Court under 28 U.S.C. §
1441 (a).

4, Plaintiff's Complaint alleges a cause of action under the Telephone Consumer
Protection Act (the “TCPA”), and particularly 47 U.S.C. § 227(b)(1){A). Removal of Plaintiffs
claim under the TCPA to this Court is proper under 28 U.S.C. § 1441(a) because this Court has
original jurisdiction over TCPA claims pursuant to 28 U.S.C. § 1331 (federal question
jurisdiction). See Mims v. Arrow Fin. Servs., LLC, 132 S.Ct. 740, *753 (stating federal courts
have federal question jurisdiction over claims that arise under the TCPA). The Court has
supplemental jurisdiction over Plaintiff's Florida Consumer Collection Practices Act (“FCCPA”)
because the FCCPA claims are so related to the TCPA claim that they form part of the same case
or controversy under Article III of the United States Constitution. See 28 U.S.C. § 1367(a).

5. Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal
has or will timely be filed with the Circuit Court of Pinellas County, Florida, and a written notice
of this removal has or will be served on Plaintiff.

6, If any questions arise as to the propriety of the removal of this action, SunTrust
requests the opportunity to present a brief and oral argument in support of its position that this
cause is removable. SunTrust reserve all defenses, including but not limited to, those under Rule
12(b) of the Federal Rules of Civil Procedure and does not waive said defenses by the filing of

this Notice of Removal.
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7. In addition to the Docket, Complaint, and Summons, attached are copies of all
additional documents filed in the Circuit Court of Pasco County, Florida:

Exhibit B — Plaintiff's First Request for Admissions Directed to Defendant, SunTrust;

Exhibit C— Plaintiffs First Request for Production of Documents Directed to Defendant,
SunTrust.

Exhibit D — Plaintiff's Notice of Service of First Set of Interrogatories to Defendant,

SunTrust.

WHEREFORE, SunTrust Mortgage, Inc. respectfully requests that the State Court Action

be removed to this Court.
Respectfully submitted on this 24" day of May, 2018
Respectfully submitted,

/s/Alexandra de Alejo

Alexandra de Alejo, Esq.

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(305) 416-6880/(305) 413-6887 (fax)
Attorney for SunTrust Mortgage

CERTIFICATE OF SERVICE

] HEREBY CERTIFY that on this 24" day of May, 2018, I electronically filed the
foregoing document with the Clerk of the Courts by CM/ECF. I also certify that the foregoing
document is being served this date on the following counsel of record in the manner specified,
either via transmission of Notice of Electronic Filing generated by CM/ECF or in some other

authorized manner for those counsel or parties who are not authorized to receive electronically

Notices of Electronic Filing:
Case 8:18-cv-01254-WFJ-CPT

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/s/ Alexandra de Alejo, Esa.
Attorney

 
